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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case                                                                     FILED
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                                        United States District Court
                                                                      for the
                                                                                                            t


                                                       Southern District of Georgia                       r ;
                                                                                                                   •' i . 'i" Ll/-\.
                                                                        Division



                                                                                Case No.
                                                                                              (to befilled in by the Clerk's Office)
                     Georgia M. Henderson
                            Plaintijf(s)
(Write thefull name ofeach plaintiffwho isfling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,                  Jury Trial: (check one)    □ Yes □ No
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                  -V-




                        City of Douglas
                      Olivia ColeyPearson
                       Kentaiwon Durham

                           Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE



I.         The Parties to This Complaint
           A.         The Piaintifr(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.

                                Name                                Georgia M. Henderson
                                 Street Address                     201 North Drive

                                 City and County                    Douglas, Coffee
                                 State and Zip Code                 Georgia 31533
                                 Telephone Number                   912-327-1770
                                 E-mail Address                     georgiamhen(a),gmai 1 .com




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          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person'sjob or title (ifknown). Attach additional pages if needed.
                      Defendant No. 1

                                Name                        City of Douglas
                                Job or Title (ifknown)      Local Government

                                Street Address              224 E. Bryan Street
                                City and County             Douglas, Coffee
                                State and Zip Code          Georgia 31533
                                Telephone Number            912-389-3401

                                E-mail Address (ifknown)    Cdayis(S),cityofdouglas.com


                      Defendant No.2

                                Name                        Oliyia C. Pearson

                                Job or Title (ifknown)      City Commissioner, Ward 3
                                Street Address              614 Taylor Circle
                                City and County             Douglas, Coffee
                                State and Zip Code          Georgia 31533
                                Telephone Number            912-389-3401, 912-383-4629, 912-384-9377
                                 E-mail Address (ifknown)   Opearson(2),cityofdouglas.com


                      Defendant No.3

                                Name                        Kentaiwon Durham

                                Job or Title (ifknown)      City Commissioner, Ward 1
                                Street Address              708 Kennedy Circle, 410 Park Avenue
                                City and County             Douglas, Coffee
                                State and Zip Code          Georgia 31533
                                Telephone Number            912-389-3401, 912-592-9747, 912-292-7225
                                 E-mail Address (ifknown)   Kdurham(2lcityofdouglas.com


                      Defendant No.4

                                Name

                                Job or Title (ifknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number



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                                E-mail Address (ifknown)


11.        Basis for Jurisdiction


           Federal courts are courts of limited jurisdiction (limited power). Generally, only two types ofcases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal courtjurisdiction? (check all that apply)
                 1^ Federal question                               Q Diversity of citizenship


           Fill out the paragraphs in this section that apply to this case.

           A.        If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                ,is a citizen ofthe
                                           State of(name)


                                 b.        If the plaintiff is a corporation
                                           The plaintiff, (name)                                                ,is incorporated
                                           under the laws of the State of(name)
                                           and has its principal place of business in the State of(name)




                                (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                                same informationfor each additional plaintiff.)

                      2.        The Defendant(s)

                                a.         If the defendant is an individual



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                                           The defendant, (name)                                          ,is a citizen of
                                           the State of0/a/we;                                         • Or is a citizen of
                                            (foreign nation)



                                b.         If the defendant is a corporation
                                           The defendant, (name)                                      ,is incorporated under
                                           the laws ofthe State of(name)                                         ,and has its
                                           principal place of business in the State of(name)
                                           Or is incorporated under the laws of(foreign nation)
                                           and has its principal place of business in (name)


                                (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                                same informationfor each additional defendant.)

                                The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain)-.




III.      Statement of Claim


          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages if needed.
          The Plaintiff is Georgia Henderson, lives in Douglas, Georgia, Coffee County; employed twenty-four years with
          Defendant 1; is an Assistant Pastor, Notable Leader ofthe community, married 34 years.

          The Defendant 1 is the City of Douglas, local government in Douglas, Georgia, Coffee County.

          The Defendant 2 is Olivia Pearson, City Commissioner, live in Douglas, Georgia, Coffee County, unemployed,
          community activist, NAACP Member, Friends with member of Black Justice League United Unauthorized
          Citizens Militia; Member of Souther Rural Black Women Association.

          The Defendant 3 is Kentaiwon Durham, City Commissioner, lives in Douglas, Georgia, Coffee County,
          unemployed, community activist.

          (See attached documents for additional Statement of Claim)




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IV.       Relief


          State briefly and precisely what damages or other reliefthe plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
           1. The Plaintiff, Georgia Henderson, claims against the Defendant 1, City of Douglas:
              (a) One hundred thousand dollars($100,000)in General Damages;
              (b) Assistance from the Georgia General Assembly and Georgia Municipal Association to bring current the
                  language within the Charter and Code of Ordinances true to a "City-Council" form of government;
              (c) Develop policies or strengthen current policies to better protect employees from discrimination, violence,
                   bullying, and harassment;
              (d) Responsible government to create or maintain ethics policy that governs the elected and provides
                  recourse for employees and citizens through a grievance process against the elected;
              (e) Payment and reimbursement, to or on behalf of the Plaintiff, of all legal fees(court, attorney, etc.);
              (f) Public Name Clearing Hearing on behalf ofthe Plaintiff;
              (g) Such further and other relief as this Honourable Court deemsjust.

          2. The Plaintiff, Georgia Henderson, claims against the Defendant 2, Olivia Coley Pearson:
             (a) One hundred thousand dollars($100,000)in General and Punitive Damages;
             (b) Banned or removed from city elected position;
             (c) Public Name Clearing Hearing to benefit the Plaintiff;
             (d) Payment and reimbursement, to or on behalf of Plaintiff, of all legal fees(court, attorney, etc.);
             (e) Such further and other relief as this Honourable Court deems Just.

          3. The Plaintiff, Georgia Henderson, claims against the Defendant 3, Kentaiwon Durham
             (a) One hundred thousand dollars $100,000 in General and Punitive Damages;
             (b) Banned or removed from office as city elected official;
             (c) Public Name Clearing Hearing on behalf ofthe Plaintiff;
             (d) Payment and reimbursement, to or on behalf ofthe Plaintiff, of all legal fees (court, attorney, etc);
             (e) Such further and other relief as the Honourable Court deemsjust.

V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and beliefthat this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
          nonffivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.




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                     Date of signing;              10/28/2019



                     Signature of Plaintiff
                     Printed Name of Plaintiff      Georgia Henderson

          B.         For Attorneys


                      Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                      Bar Number

                     Name of Law Firm

                     Street Address

                     State and Zip Code
                     Telephone Number
                      E-mail Address




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                                      UNITED STATES DISTRICT COUNT
                                                    For the
                                         Southern District of Georgia
                                                         Division

Plaintiff: Georgia Henderson
vs.

Defendants: City of Dougias, Oiivia Coiey Pearson, Kentaiwon Durham

STATEMENT OF CLAIM (continued)

1. Defendant 1 Government officials violated Charter that governs elected officials, city manager,
directors;(Code of Ordinances, Article 1, Part 2, Section 30 - 31)

          (A) Exhibit la: Webpage displaying "City-Council" form of government and city manager runs
          the day-to-day operation, 1 paged document; Defendant 1, Defendant 2, Defendant 3 violated
          Charter, Chapter 2, Article 1, Section 2.30 and Section 2.31;

          (B) Exhibit lb: City of Douglas Code of Ordinances, Chapter 2, Article 1, Section 2-30 and Section
          2-31,; Defendant 1, Defendant 2, Defendant 3 violated Charter

          (C) Exhibit 1(c): Agenda and Minutes City Commission Work Session and Meeting, dated August
          27,2018, Uphold Protocol and Approve Department Hiring Request; violated Charter, Chapter 2,
          Article 1,Section 2.31,

          (D) Exhibit 1(d): Local news article retrieve from online source WFXL News(Albany), Douglas
          commission votes after compiaints aboutspouse travel, city position combinations, dated,
          September 5, 2018; violated Charter, Chapter 2, Article 1, Section 2.31;

          (E) Exhibit 1(e): Local news article retrieve from online source WALBIO News(Albany), Douglas
          officials respond to criticism, set up new travel poiicy, dated September 6, 2018; violated
          Charter, Chapter 2, Article 1, Section 2.31;

          (F) Exhibit 1(f): Local news article retrieve from online source Douglas Now News(Doulas), City
          approves travel expense policy, reverses decision regarding Community Developmentjob, dated
          September 6, 2018; violated Charter, Chapter 2, Article 1, Section 2.31;

          (G) Exhibit 1(g): Email,Special Called Work Commission Meeting - Wednesday,Septembers,
          2018", dated August 31, 2018 9:22AM and "Response concerning yesterday's meeting re: Mr.
          Brandon Paulk" dated August 21, 2018 2:13 PM,violated Charter, Chapter 2, Article 1, Section
          2.31;

2. Defendant 1 violates Ethics Policy, allowed all terms on Ethics Committee to expire, leaving no course
for an employee or citizen to file a grievance against a city elected official. The City of Douglas is a City of
Ethics.
          (A) Exhibit 2(a): Agenda, Minutes, and Ethics Ordinance of the City of Douglas Commission,
          adopted 11-23-2009; Ethics Ordinance Chapter 2 Article VII Section 2-461-2-282; Defendant 1
          adopted policy during City Commission Meeting on November 23, 2009;



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       (B) Exhibit 2{b): Agenda and Minutes of the City of Douglas Commission, July 10, 2014, Agenda
       and Minutes July 28, 2014, Members reappointed to Ethics Committee during City Commission
        Meetings; Defendant 1 violates ordinance Ethics Ordinance Chapter 2 Article VII Section 2-461 -
       2-282;


       (C) Exhibit 2(c): Agenda and Minutes of the City of Douglas Commission, April 9, 2018, City
        Recertification as a City of Ethics, members terms expire in July 2018; Defendant 1 violated
        Ethics Ordinance Chapter 2 Article VII Section 2-461 -2-282;

       (D) Exhibit 2(d): Agenda and Minutes, City of Douglas Commission Meeting, Item, January 14,
        2019, City seeks members to fill expired terms on Ethics Committee; Defendant 1 violated
        Charter, Chapter 2, Article VII, Code of Ethics;

       (E) Exhibit 2(e) Website post, October 24, 2019, still no appointments to Ethics Committee;
        Defendant 1 violated Ethics Ordinance Chapter 2 Article VII Section 2-479;

3. Defendant 1 violates City of Douglas Personnel Policies and Procedures
       (A) Exhibit 3(a): City of Douglas Personnel Policies and Procedures, Policy 078, effective date
       05/11/98, Harassment/Sexual Harassment, Defendant 1, Defendant 2, Defendant 3 violated this
        policy; Plaintiff was often harassed in public and private meetings, reference notes from EEOC
        Charge, dated received February 25, 2018 by the EEOC.

       (B) Exhibit 3(b): Personnel Policies and Procedures, Policy 077, effective date 05/11/98, Violence
       In The Workplace, Defendant 1, Defendant 2, Defendant 3 violated this policy; reference video
       footage https://www.voutube.com/watch?v=p2aKGoR9vLA:
        httP5://www.voutube.com/watch?v=BVIM0UE5sD4:
        https://www.voutube.com/watch?v=DaZOCF9VNbc:


       (C) Exhibit 3(c): Email chain dated October 30, 2018 between Defendant 1 and Defendant 2
       concerning security during City Meetings and banning irate individuals;

4. Defendant 1 failed to protect employees from violence, hostile work environment, and bullying in the
workplace;
       (A) Exhibit 4(a): Minutes from City of Douglas 2019 Strategic Planning Meeting at the C.E. Weir
       Center, February 9, 2019, City leaders acknowledge harassment, workplace violence, and
        discrimination against Plaintiff;

       (B) Exhibit 4(b): Email dated October 30, 2018 between city manager and Olivia Coley Pearson;

       (C) Exhibit 4(c): Article from Douglas Enterprise, City 'Moving Forward'After Last Few
       'Contentious' Meetings;

5. Defendant 2 breaches City of Douglas Code Ethics Ordinance, Ethics Ordinance Chapter 2 Article VII
Section 2-461 - 2-282;
       (A) Exhibit 5(a); Email thread, dating July 30, 2018 through August 8, 2018 and Section 2-269;
       Defendant 2 violate Ethics Ordinance Chapter 2 Article VII Section 2-469; Defendant 2 coerced
       employee to conduct a favor for a family member;



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       (B) Exhibit 5(b): News article, source Douglas Now News, Defendant paid for family members
       food during conferences; Defendant 2 violated Ethics Ordinance Chapter 2 Article VII Section 2-
        461-2-282;


       (C) Exhibit 5(c): Agenda and Minutes City Commission Meeting, Discuss/Approval of the
       Decision to Combine 2 Community Development Positions, September 5, 2018;
        Defendant 2 violated Ethics Ordinance Chapter 2 Article VII Section 2-461-2-282;

       (D) Exhibit 5(d): Email from Atty. Gerald Griggs, dated January 27, 2019; Defendant 2 is under
       current investigation into fraud and misappropriated of Funds as the NAACP Treasurer.

       (E) Exhibit 5(e): New articles, source Douglas Now News, Commissioner Olivia Pearson receives
        criminal trespass warning after alleged with Mickeayla Brockington, dated August 31, 2019; and
        from Douglas Enterprise, Commissioner Olivia Pearson Received Trespassing Warning After
        Alleged Verbal Argument'with Ward 2 Candidate, Defendant 2 violated Ethics Ordinance
        Chapter 2 Article VII Section 2-461 - 2-282; video source
        https://www.voutube.com/watch?v=KwJi71E9Dho:


       (F) Exhibit 5(f): Defendant 2 conducts high speed chase, interferes with official police business
        relating to family member,source video posted September 15, 2019,
        https://www.voutube.com/watch?v=lhiWW6Vri8o:


6. Defendant 2 and Defendant 3 made false and defamatory statements, both slander and libel, about
   the Plaintiff;
       (A) Exhibit 6(a): News article dated September 5, 2018, Douglas Commission votes after
            compiaints about spouse travel, city position combinations. Defendant 3 read a statement
            from Defendant 2, both accusing Plaintiff of falsifying documents;

       (B) Exhibit 6(b): Audio recording, September 5, 2018 In a public meeting of the City Commission,
            which was publicized on television and social media; on that was publicized; Agenda and
            Minutes City of Douglas Special Called Meeting on September 5, 2018; Defendant 2 and
            Defendant 3 violated Charter, Chapter 2, Section 2.30, 2.31;

       (C) Exhibit 6(c): Email dated 09-07-18, Email dated 08-31-18; Defendant 2 violates; Charter,
           Chapter 2, Section 2.30, 2.31;

       (D) Exhibit 6(d): Email dated September 7, 2018 from Defendant 1 to Plaintiff; Defendant 2
           violates; Charter, Chapter 2, Section 2.30, 2.31;

       (E) Exhibit 6(e): Defendant 2 accused Plaintiff of discriminating and not merging positions
           because of employee's race; httPs://www.voutube.com/watch?v=Te9s9Ulp6Ro:

       (F) Exhibit 6(f): Defendant 2 made false statements about Plaintiff; Email dated August 31, 2018
            and September 2, 2018;

       (6) Exhibit 6(g): Copy of live thread posting during City of Doulas Work Session, September 11,
           2018; Defendant 2 and Defendant 3 synergized community into believing false accusations;


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       (H) Exhibit 6(h): Email dated September 7, 2018 from City Manager to Plaintiff acknowledging
           false accusations by Defendant 2;

       (I) Exhibit 6(1): Email exchange dated March 29, 2019 between Plaintiff and Defendant 1;
           replying to Defendant 2 false accusation;

       (J) Exhibit 6(j): Verbal assault by Defendant 2, during public meeting, in reference to another
           commissioner making Plaintiff cry; Defendant 2 accused Plaintiff of not submitting reports;
           Defendant 2 used profanity against Plaintiff and all City of Douglas Department Heads
           /Directors; Defendant 3 accused Plaintiff of not being qualified; Plaintiff attempts to call out
            Defendant 2 on false accusations; Defendant 2 accuses Plaintiff of false information;
            Defendant 1 acknowledges that Defendant 2 is using scare tactics; source Audio from City of
            Douglas Work Session and Meeting on March 25, 2019;

       (K) Exhibit 6(k): Email from Defendant 1 to Plaintiff encouraging to stay strong and true, dated
            March 27, 2019;


       (L) Exhibit 6(1): Screenshot from Defendant 2 social media page making statement "Uncle Tom
           A** Negroes" against Plaintiff;

       (M)Exhibit 6(m): Email exchange dated August 31, 2018 between Defendant 1 and Defendant 2;
          Defendant 2 accused Plaintiff of making sexist remarks, discrimination, harassment, being
           unqualified; post from Defendant 2 social media page affirming Defendant 2 false
           statements against the Plaintiff on sexist remarks;

       (N) Exhibit 6(n): Thread post from Defendant 2 social media page where Defendant 2 make
           accusations of discrimination and harassment against Plaintiff;

       (O) Exhibit 6(o): Defendant 2 falsely accuses Plaintiff during a public meeting on September 9,
           2019; Defendant 2 violates Charter, Chapter 2, Section 2.30, 2.31; Source
            https://www.voutube.com/watch?v=Te9s9Ulp6Ro: email exchange between Plaintiff and
            Defendant 2 regarding meeting with grant administrator dated January 8, 2019,January IS,
           2019,January 22, 2019;

       (P) Exhibit 6(p): Signed statements from other employees; Defendant 2 made false accusations
           during a public meeting on September 23, 2019 on many employees; Defendant 2 violated
           Charter Chapter 2, Article 1, Section 2.30-2.31; also video on social media

7. Defendant 2 and Defendant 3 violated City Charter, Chapter 2, Article 1, Section 2.30-2.31,
       (A) Exhibit 7(a): String of emails usurping authority of city manager and directors; interfered
       with personnel matters;(Reference Exhibits: Emails: 09-07-18; 09-02-18,08-21-19, June 10,
       2019amoun between Henderson and Pearson); violated charter, between Pearson and city
       manager; Email dated August 30, 2018 -5:20pm and August 31, 2018- 1:30pm Defendant 2
       violated charter suggesting pay raise for an employee;

       (B) Exhibit 7(b): Email, Response concerning yesterday's meeting re: Mr Brandon Paulk, dated
       August 21, 2018 2:13PM, August 21, 2018 3:26PM, August 21, 2018 5:35PM, Defendant 2


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 violated Charter Chapter 1, Article 1,Section 2.30 and Section 2.31;

 (C) Exhibit 7(c): Agenda and Minutes City Commission Work Session and Meeting, dated August
 27,2018, Uphold Protocol and Approve Department Hiring Request; Defendant 2 and Defendant
 3 violated Charter, Chapter 2, Article 1, Section 2.31;

 (D) Exhibit 7(d): Local news article retrieve from online source WFXL News(Albany), Douglas
 commission votes after complaints about spouse travei, city position combinations, dated,
 September 5, 2018; violated Charter, Chapter 2, Article 1,Section 2.31;

 (E) Exhibit 7(e): Local news article retrieve from online source WALBIO News(Albany), Douglas
 officials respond to criticism, set up new travel policy, dated September 6, 2018; violated
 Charter, Chapter 2, Article 1, Section 2.31;

 (F) Exhibit 7(f): Local news article retrieve from online source Douglas Now News(Doulas), City
 approves travei expense policy, reverse decision regarding Community Developmentjob, dated
 September 6, 2018; violated Charter, Chapter 2, Article 1, Section 2.31;

 (G) Exhibit 7(g): Email,Special Called Work Commission Meeting - Wednesday,September 5,
 2018", dated August 31, 2018 9:22AM and "Response concerning yesterday's meeting re: Mr.
 Brandon Pauik" dated August 21, 2018 2:13 PM,violated Charter, Chapter 2, Article 1,Section
 2.31;

 (H) Exhibit 7(h): Email, The amount ofPay Raisefor CittPiaanner/Grant's Administrator, dated
 August 30, 2018 5:30 PM;violated Charter, Chapter 2, Article 1, Section 2.31;

 (I) Exhibit 7(i): Agenda and minutes. City Meeting, March 25,2019, violated Charter, Chapter 2,
 Article 1, Section 2.31;

 (J) Exhibit 7(j): Article source Douglas Enterprise, City Commission Disagrees on Possibie
 Ordinance Change; violated Charter, Chapter 2, Article 1, Section 2.31,4 paged document;

 (K) Exhibit 7(k): Email, Follow Up on Animal Control Officer Pay", dated May 21, 2019 and June
 10, 2019; Defendant 2 violated Charter, Chapter 2, Article 1, Section 2.30 and Section 2.31;

 (L) Exhibit 7(1): Agenda and minutes. City Commission Meeting, July 22, 2019, Defendant 2 and
 Defendant 3 violated Charter, Chapter 2, Article 1, Section 2.30 and Section 2.31;

 (M)Exhibit 7(m): Agenda October 14,2019; News Articles, Defendant 2 and Defendant 3
 violated Charter, Chapter 2, Article 1, Section 2.30 and Section 2.31;

 (N) Exhibit 7(n): Email dated August 31,2018 and September 2, 2018 between city manager,
 directors, mayor and commissioners; Email dated August 21,22,28,30,31, 2018 Defendant 2
 violated Charter, Chapter 2, Article 1, Section 2.30 and 2.31;

 (O) Exhibit 7(o): News article. Attempt to effectively micromanage the police departmentfails at
 commission meeting with a 4-2 vote, dated August 29, 2018, Defendant 2 and Defendant 3
 violated Charter, Chapter 2, Article 1, Section 2.30 and Section 2.31;

 (P) Exhibit 7(p): Emailed exchange dated August 31, 2018 and September 2, 2018 between
 Defendant 1 and Defendant 2; Defendant 2 violated Charter, Chapter 2, Article 1, Section 2.30

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 and 2.31;

 (Q) Exhibit 7(q): News article from Douglas Enterprise, DOCUMENTS STATE FORMER CITY
 SUPERVISOR HIT DISABLED EMPLOYEE WITH A BELT,FORMER CITY COMMISSIONER ALLEGEDLY
 HAD KNOWLEDGE OF CEMETERY BRIBERY; dated October 3, 2019 and article Commissioner
 Pearson Discusses Personnel Issue In Open Work Session; Defendant 2 violated Charter, Chapter
 2, Article 1, Section 2.30 and 2.31;

 (R) Exhibit 7(r): Screenshot Defendant 2 sent message via Facebook Messenger to Plaintiff
 asking for vote; Defendant 2 violates ordinance Ethics Ordinance Chapter 2 Article VII Section 2-
 461-2-282;

 .(f;) FmIiIIiH 7(ii)' iinnri nntn HntnH Aprij Q, 2019: dociimmting Drfrnfliiiil i' iillllHi li iidnnt 3
  Iftnmpttn porsimfjp Dpfpndant 1 nn jnh                   pnd       nnfnnH-intl nnfi Hf^fonHant 3
 violated Charter, Chaplei 2, Ai LiUe 1, Secliun 2.30 - 2.31;—•




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